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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION

JOHN DOE,
     Plaintiff,                                         Case No. 18-cv-00196-GJQ-TPG
                                                        Hon. Gordon J. Quist
v.
NORTHERN MICHIGAN UNIVERSITY,
JANET KOSKI, DONNA BEAUCHAINE,
and CHRISTINE GREER,
in their official capacity only,
jointly and severally,

       Defendants.
___________________________________________________________________________
David A. Nacht (P47034)             Kurt P. McCamma (P51477)
Adam M. Taub (P78334)               Sarah P. Hartman (P71458)
NACHTLAW, P.C.                      MILLER, CANFIELD, PADDOCK and
Attorneys for Plaintiff             STONE, P.L.C.
101 N. Main Street, Ste. 555        Attorneys for Defendants
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ataub@nachtlaw.com                  hartmans@millercanfield.com
____________________________________________________________________________

                  STIPULATED ORDER EXTENDING DEADLINE FOR
                        SUBMISSION OF DISMISSAL PAPERS

       Plaintiff and Defendants, by their respective attorneys, hereby stipulate to extend the

deadline for submission of dismissal papers by fourteen (14) days. [DE. 26] The parties stipulate

as follows:

       WHEREAS the parties need additional time to finalize the Settlement Agreement, execute

the documents necessary to complete settlement, and to submit the appropriate stipulated dismissal

papers to this Court. Accordingly, the Parties agree to extend the deadline to submit the appropriate

stipulated dismissal papers by fourteen (14) days.
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       IT IS HEREBBY ORDERED that the deadline to submit dismissal papers be extended

from August 9, 2019 to August 23, 2019.

       The court adopts the stipulation and IT IS SO ORDERED.



Dated:_______________
       August 8, 2019                             _________________________________
                                                     /s/ Gordon J. Quist
                                                    U.S. DISTRICT JUDGE


Stipulated as to form:

 Attorneys for Plaintiff:                       Attorneys for Defendants:

 /s/Adam M. Taub                                /s/ Kurt P. McCamma (w/permission)
 Adam M. Taub (P78334)                          Kurt P. McCamma (P51477)
 NACHT & ROUMEL, P.C                            Sarah P. Hartman (P71458)
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Dated: August 8, 2019




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